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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


 UNITED STATES OF AMERICA,                     CR 18-99-BLG-SPW

                         Plaintiff,

           vs.                                 OFFER OF PROOF

 APRIL DRAKE GREER,

                        Defendant.



      The United States of America, represented by Assistant United States

Attorney Colin M. Rubich, files its offer of proof in anticipation of the change of

plea hearing set in this case on August 7, 2018.


                                          1
                                  THE CHARGE

      The defendant, April Drake Greer, is charged by information with four

counts of wire fraud, in violation of 18 U.S.C. § 1343.

                              PLEA AGREEMENT

      There is no plea agreement in this case. Greer will plead guilty to the

information without benefit of a written plea agreement. In the government’s

view, this represents the only and most favorable resolution for the defendant. See

Missouri v. Frye, 566 U.S. 134 (2012).

                        ELEMENTS OF THE CHARGE

      In order for Greer to be found guilty of the charges contained in the

information, Wire Fraud, in violation of 18 U.S.C. § 1343, the United States must

prove each of the following elements beyond a reasonable doubt:

      First, the defendant knowingly devised a scheme or plan to defraud, or a
      scheme or plan for obtaining money or property by means of false or
      fraudulent pretenses, representations, or promises;

      Second, the statements made or facts omitted as part of the scheme were
      material; that is, they had a natural tendency to influence, or were capable of
      influencing, a person to part with money or property;

      Third, the defendant acted with the intent to defraud, that is, the intent to
      deceive or cheat; and

      Fourth, the defendant used, or caused to be used, an interstate wire
      communication to carry out or attempt to carry out an essential part of the
      scheme.
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                                    PENALTY

      Each charge contained in the information carries a maximum penalty of

twenty years imprisonment, a $250,000 fine, three years of supervised release, and

a $100 special assessment.

                          ANTICIPATED EVIDENCE

      If this case were tried in United States District Court, the United States

would prove the following:

      Beginning in or about 2010, and continuing thereafter until on or about June

7, 2017, April Greer was employed as the director of human resources and

controller for Wildfire Defense Systems, Inc., a company owned and operated in

Red Lodge. In this capacity, Greer was responsible for accounts receivable,

accounts payable, bill payment, human resources management, and reconciliation

of bank statements. As part of her duties, Greer regularly utilized the software

program QuickBooks. Wildfire Defense Systems, Inc. used QuickBooks for

many of their accounting and payroll functions. Among other features, the

QuickBooks software was able to access a bank account belonging Wildfire

Defense Systems, Inc. and transfer money to another account via an ACH

electronic wire. Used legitimately, this function enabled Greer and other

                                          3
responsible employees to pay employees and other subcontractors for their

services.

      As part of the scheme, Greer regularly used the QuickBooks Program to

transfer money from the Wildfire Defense Systems, Inc. account to her personal

checking account without authorization. To conceal the missing money Greer

withdrew from her employer’s account, Greer improperly altered bank statements

when necessary. Greer also fraudulently coded the payments within QuickBooks

to make it appear that the payments were related to business expenses.

      Greer initiated two interstate wires on January 27, 2017 to carry out part of

this scheme. The first on this date occurred between JP Morgan Chase Bank in

New York, NY and First Interstate Bank in Montana and represented the transfer

of $9,312.35 to First Interstate Bank account number XX-XXXX-2362. The

second on this date occurred between JP Morgan Chase Bank in New York, NY

and First Interstate Bank in Montana and represented the transfer of $9,961.95 to

First Interstate Bank account number XX-XXXX-2362.

      Greer initiated two more interstate wires on February 14, 2017 to carry out

part of this scheme. The first on this date occurred between JP Morgan Chase

Bank in New York, NY and First Interstate Bank in Montana and represented the

transfer of $9,710.62 to First Interstate Bank account number XX-XXXX-2362.

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The second on this date occurred between JP Morgan Chase Bank in New York,

NY and First Interstate Bank in Montana and represented the transfer of $8,680.95

to First Interstate Bank account number XX-XXXX-2362.

      The above information is supported by documentary evidence and witness

interviews. On June 22, 2017, Greer voluntarily agreed to an interview with

investigators. This interview was recorded and her attorney was present.

During the interview, the defendant largely admitted to the facts outline above.

Over the course of approximately seven years, Greer stole approximately

$1,432,372.00 in embezzled funds from Wildfire Defense Systems, Inc..

      DATED this 2nd day of August, 2018.

                                       KURT G. ALME
                                       United States Attorney

                                       /s/ Colin M. Rubich
                                       COLIN M. RUBICH
                                       Assistant U.S. Attorney




                                         5
